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UN|TED STATES GOVERNMENT

Federa| Bureau of Prisons
Federal Medical Cen ter

3301 Leestown Road

Lexington, Kentucky 40511-8799

 

 

May ]O, 2005

The Honorable Bcrnice B. Donald.

United States Distn`ct Judge

Westem Dl`strict of Tennessee, Memphis Division
Clifford Davis F ederal Buildjng

167 North Main Street

Memphis, TN 38103

 

Re: McWILLIAMS, Regina]d
CaSe No. 04-20237D
Reg. No. 19739-076

Dear Judge Donald:

If you concur With our request, please fax us a new order at (859) 253-8845. We Sincerely
appreciate your consideration in this matter.

Sincerely,
@MW%” c MOT'°N GRA"‘TEDJ/
Warden i= _/ ' k \`$\\

 

U.S. D|STR§CT JUDGE d

 

   

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20237 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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Honorable Bernice Donald
US DISTRICT COURT

